      Case 3:16-cv-06001-WHO Document 250 Filed 02/01/19 Page 1 of 2



 1   THOMAS H. ZELLERBACH (SBN 154557)
     tzellerbach@orrick.com
 2   FRANCES S. CHEEVER (SBN 287585)
     fcheever@orrick.com
 3   ORRICK, HERRINGTON & SUTCLIFFE LLP
     1000 Marsh Road
 4   Menlo Park, CA 94025
     Telephone:    +1-650-614-7400
 5   Facsimile:    +1-650-614-7401

 6   ARAVIND SWAMINATHAN (Pro Hac Vice)
     aswaminathan@orrick.com
 7   ORRICK, HERRINGTON & SUTCLIFFE LLP
     701 5th Avenue, Suite 5600
 8   Seattle, WA 98104
     Telephone:    +1-206-839-4300
 9   Facsimile:    +1-206-839-4301
10   NATHAN SHAFFER (SBN 282015)
     nshaffer@orrick.com
11   ORRICK, HERRINGTON & SUTCLIFFE LLP
     405 Howard Street
12   San Francisco, CA 94105
     Telephone:    +1-415-773-5700
13   Facsimile:    +1-415-773-5759

14   Attorneys for Plaintiff
     APPLE INC.
15
                                     UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                        SAN FRANCISCO DIVISION
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     Apple Inc.,                                         Case No. 3:16-cv-06001-WHO
20
                        Plaintiff,                       SUPPLEMENTAL CASE
21                                                       MANAGEMENT STATEMENT
            v.
22                                                       Date:      February 5, 2019
     Mobile Star, LLC, a New York Limited                Time:      2:00 PM
23   Liability Company, et al.,                          Dept:      Courtroom 2, 17th Floor
                                                         Judge:     Hon. William H. Orrick
24                      Defendants.

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26          Pursuant to this Court’s Order Vacating Trial Date, ECF No. 233, the notice of
27   continuance of the case management statement, ECF No. 239, and Local Rule 16-10(d), Plaintiff
28   Apple Inc. hereby submits the following statement to supplement the January 26, 2019, Case
                                                                    SUPP. CASE MANAGEMENT STATEMENT
                                                   -1-                            3:16-CV-06001-WHO
      Case 3:16-cv-06001-WHO Document 250 Filed 02/01/19 Page 2 of 2



 1   Management Statement (ECF No. 248).

 2          With the dismissal of Top10 Cell, Inc. (ECF No. 249) this case is now resolved with

 3   respect to all Defendants. Apple respectfully requests that the February 5, 2019, case

 4   management conference be vacated and the case closed, subject to any continued jurisdiction

 5   retained by the Court in previously entered orders.

 6
     Dated: February 1, 2019                        ORRICK, HERRINGTON & SUTCLIFFE, LLP
 7

 8
                                                    By:         /s/ Nathan Shaffer
 9                                                               THOMAS H. ZELLERBACH
                                                                 ARAVIND SWAMINATHAN
10                                                                   NATHAN SHAFFER
                                                                    FRANCES S. CHEEVER
11
                                                                     Attorneys for Plaintiff
12                                                                        Apple Inc.
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                                                                      SUPP. CASE MANAGEMENT STATEMENT
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